
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 92-1951                             AUBURN POLICE UNION, ET AL.,                               Plaintiffs, Appellants,                                          v.                                MICHAEL E. CARPENTER,                       ATTORNEY GENERAL OF THE STATE OF MAINE,                                 Defendant, Appellee.                                 ____________________        No. 92-2028                             AUBURN POLICE UNION, ET AL.,                                Plaintiffs, Appellees,                                          v.                                  MICHAEL CARPENTER,                       ATTORNEY GENERAL OF THE STATE OF MAINE,                                Defendant, Appellant.                                _____________________                    APPEALS FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. D. Brock Hornby, U.S. District Judge]                                            ___________________                                 ____________________                                        Before                                 Cyr, Circuit Judge,                                      _____________                           Campbell, Senior Circuit Judge,                                     ____________________                              and Boudin, Circuit Judge.                                          _____________                                 ____________________            Errol Copilevitz  with whom  John  P.  Jennings, Jr.,  Copilevitz,            ________________             _______________________   __________        Bryant,  Gray &amp; Jennings, P.C., Leland N. Chisholm and Kelly, Remmel &amp;        ______________________________  __________________     _______________        Zimmerman were on brief for plaintiffs.        _________            MacKenzie Canter, III, Leonard J.  Henzke, Jr., Lehrfeld,  Canter,            _____________________  _______________________  _________________        Henzke &amp; Diskin  and George Gills  on brief  for Maine State  Troopers        _______________      ____________        Association,  National   Association  of  Police   Officers,  National        Troopers Coalition and Texas State Troopers Association, Amici Curiae.            Stephen L. Wessler,  Deputy Attorney General, with whom Michael E.            __________________                                      __________        Carpenter, Attorney  General, and  Thomas D.  Warren, Deputy  Attorney        _________                          _________________        General, were on brief for defendant.                                  ____________________                                  November 12, 1993                                 ____________________                      CAMPBELL, Senior Circuit Judge.  The State of Maine                                ____________________            has  enacted  a  law (hereinafter  "the  Act")  prohibiting a            person  from soliciting property from the general public that            tangibly  benefits any  law  enforcement officer,  agency  or            association.1     Violations  of  the  Act  are  declared  to            contravene the Maine Unfair Trade Practices Act, and they may            be enjoined and penalized civilly.   Me. Rev. Stat. Ann. tit.            5,   209 (West 1992).                      Plaintiffs comprise a  coalition of police  unions,            individual   law   enforcement   officers,   a   professional            fundraiser and a  private citizen.2  They sued  in the United            States District  Court for the District of  Maine pursuant to                                            ____________________            1.  Entitled  the "Solicitation  by Law  Enforcement Officers            Act," the statute provides that:                 A  person may not solicit property from the general                 public  when the  property  or  any  part  of  that                 property in any way tangibly benefits, is  intended                 to tangibly benefit or is represented to be for the                 tangible  benefit of  any law  enforcement officer,                 law   enforcement   agency   or   law   enforcement                 association.            Me. Rev. Stat. Ann. tit. 25,   3702-A (1992).            2.  Plaintiffs include the Auburn Police Union, the  Portland            Police Benevolent Association, and  the Lewiston Police Union                 all  of  which  come within  the  definition  of a  "law            enforcement  association" as defined  in Me. Rev.  Stat. Ann.            tit.  25,    3701(2); Leonard  Dexter,  Kevin MacDonald,  and            David  B. Chamberlain     all  of  whom are  officers of  law            enforcement  associations;   R.H.  McKnight   Co.,  Inc.,   a            corporation  in the business of fundraising and promotions on            behalf   of   law   enforcement   officers,   agencies,   and            associations through sale  of advertising and  publication of            trade   magazines,  programs   and  handbooks;   and  Charles            Underwood,  a  private  citizen who  wishes  to  advertise in            police  publications   and   to  receive   copies  of   those            publications.                                         -3-            42 U.S.C.    1983, seeking to enjoin  the Act and to  have it            declared unconstitutional  under  the  First  and  Fourteenth            Amendments to the United States Constitution.                        While declaring  that the provision  for injunctive            enforcement was  an  unconstitutional  prior  restraint,  the            district court otherwise upheld  the Act against  plaintiffs'            overbreadth  and equal protection challenges.  Both the State            of  Maine and  plaintiffs  appeal.   We  vacate the  district            court's determination  that the  injunctive relief  provision            amounts to an  impermissible prior restraint, and  affirm the            district court's  upholding of the  constitutionality of  the            Act.                                          I.                                          I.                      As the Act was originally enacted in 1977, its sole            exception was  for  solicitations  by or  on  behalf  of  law            enforcement  officers  campaigning  for  election  to  public            office     an exception still in  existence.   Me. Rev. Stat.            Ann. tit. 25,   3703.  In 1983, the Act was  amended to allow            game wardens to sell historical publications describing state            parks.3  Me. Rev. Stat. Ann. tit. 25,   3702.                                            ____________________            3.  After  the  1983  amendment,  section  3702 provided  the            following:                      No  person  may   solicit  property  from  the                 general  public when the  property, or any  part of                 it, in any way benefits, is intended to  benefit or                 is represented  to be  for the benefit  of any  law                 enforcement officer, law enforcement  agency or law                 enforcement  association,  except  that  any  state                 warden service  association may offer for  sale, by                                         -4-                      In 1983, Maine's Attorney General brought an action            under the  Unfair Trade  Practices Act,  Me. Rev.  Stat. Ann.            tit. 5,     205-A  to 214, against  the Maine  State Troopers            Association ("M.S.T.A.")    a law enforcement association  as            defined  in Me.  Rev. Stat.  Ann. tit.  25,    3701(2)     to            enjoin  the   M.S.T.A.  from  engaging  in  solicitations  in            violation of    3702.  The Attorney General  alleged that the            M.S.T.A. had sold and offered to sell advertisements to Maine            businesses  for insertion in  its magazine, "The  Maine State            Trooper."        The    M.S.T.A.   challenged    the    Act's                                            ____________________                 persons  other  than  wardens  or  members  of  the                 association, to  members of the  public guide books                 or  handbooks  containing   historical  reviews  or                 descriptions  of  services,  except  that  on   the                 request of a nonmember the  association may provide                 that person with  the copies requested for  sale by                 that  person.   No advertisements  may  be sold  or                 included in these publications, except greetings or                 complimentary  statements  from members  or  former                 members  which  shall  give the  full  name  of the                 member  or former member.   A stated  rate for this                 advertisement space shall be published and no funds                 in excess  of that stated  rate may be  accepted by                 the association for space.                      A record of  receipts and sales for  space and                 sales  of   the  publication  shall   be  kept  and                 available  to  the  public  during  normal  working                 hours.                      All  proceeds   from  these  sales   shall  be                 expended for direct  charitable services to members                 or  their  spouses, widows,  children,  widowers or                 parents  and may  not  be  used  for  buildings  or                 equipment,   construction    or   maintenance    or                 entertainment of members.                      Any violation of this chapter shall constitute                 a  violation of  Title 5,  chapter  10, the  unfair                 trade practices laws.            Me. Rev. Stat. tit. 25,   3702.                                         -5-            constitutionality, and  the case  went to  the Maine  Supreme            Judicial Court  (the "Law Court"),  which in 1985  upheld the            Act  as constitutional.   See State  v. Maine  State Troopers                                      ___ _____     _____________________            Ass'n ("MSTA"),  491 A.2d  538 (Me.),  appeal dismissed,  474            _____   ____                           ________________            U.S. 802 (1985).                      The Law  Court found  that Maine  had a  compelling            interest  in avoiding police  coercion.  It  found irrelevant            the subjective intent of the solicitor and the absence of any            complaint of  coercion:   ". . . at least  the appearance  of            coercion  inheres  in  every solicitation  on  behalf  of law            enforcement," undermining "the integrity of the office."  Id.                                                                      ___            at  542-43.   The  Law  Court noted  the  Maine Legislature's            finding that "[s]olicitation  by a law enforcement  agency is            inherently coercive."  Id.   In the court's view, the State's                                   ___            interest "in protecting the reputation of its law enforcement            bodies is undeniably substantial.   Indeed, we would be  hard            pressed to suggest  a weightier interest."  Id.   Holding the                                                        ___            statute   not  to  be  "fatally  overbroad,"  the  Law  Court            emphasized that "the integrity of the State's law enforcement            agents  is cast  in doubt  with every  solicitation on  their            behalf."  Id.  Thus the court found the Act constitutional.                        ___                      The Law Court, however,  affirmed the lower court's            decision  that under  the  Equal  Protection  Clause  of  the            Fourteenth  Amendment, the State could not impose any greater            restrictions  on the  solicitation  activities of  other  law                                         -6-            enforcement officers  than were  imposed upon  state wardens.            Id. at 544.4   The Maine State  Troopers Association appealed            ___            from the  Law Court's  decision to the  Supreme Court  of the            United  States, which summarily dismissed the appeal for want            of a substantial federal question. Maine State Troopers Ass'n                                               __________________________            v. Maine, 474 U.S. 802 (1985).               _____                      In  1989,  following  the Supreme  Court's  summary            dismissal  of the  appeal  in  MSTA,  the  Maine  Legislature                                           ____            amended  the  Act so  as  to  permit  the Department  of  the            Attorney General to charge for the cost of consumer education            materials.  Me. Rev. Stat. tit. 25,    3706.  The Legislature            additionally  amended the Act  to permit solicitations  for a            period of one year, later  extended an additional six months,            to raise  funds for the  construction of a memorial  to slain            police  officers.  Priv. &amp;  Spec. Laws 1989,  Ch. 47; Priv. &amp;            Spec. Laws 1990, Ch. 114.                      In  1990,  the  same  plaintiffs  who  brought  the            present suit challenged  the constitutionality of the  Act in            the federal  district  court.   See  Auburn Police  Union  v.                                            ___  ____________________            Tierney ("Auburn I"),  756 F. Supp.  610 (D. Me. 1991).   The            _______   ________            district court affirmed the magistrate judge, who ruled in  a            comprehensive  opinion  that   the  Supreme  Court's  summary                                            ____________________            4.  The  Law Court affirmed  the lower court's  judgment that            the M.S.T.A. should  be permitted to sell  their publications            to  the  general  public, subject  to  the  same restrictions            imposed on  associations of state  wardens by Me.  Rev. Stat.            Ann. tit. 25,   3702.                                         -7-            dismissal of  MSTA was  not a binding  precedent because  the                          ____            Legislature's   enactment  of   the   above  exceptions   had            undermined  MSTA's  premise  that  all  solicitation  by  law                        ____            enforcement   officers   and  organizations   is   inherently            coercive.   Id.  at 616.5   The court  held that the  Act was                        ___            unconstitutionally overbroad  and invalid on its face because            "[a]  complete  prohibition  on police  solicitation  is  not            narrowly  tailored to  Maine's  evident  interest in  banning            some,  but not  all, such solicitation."   Id.  at 618.   The                                                       ___            court  further  concluded  that the  Act  violated  the Equal            Protection  Clause of  the  Fourteenth Amendment  because the            State  could  not  demonstrate   a  substantial  governmental            interest  in permitting police solicitation for a memorial to            slain  officers, while  prohibiting  police solicitation  for            other  causes.   Id. at  619.   Finally,  the district  court                             ___            determined that the  Act constituted  an impermissible  prior            restraint because  it "silences by fiat an entire category of            charitable solicitation."   Id. at  618.  The State  of Maine                                        ___            did not appeal in that case.                      Instead, in  1991, the  Maine Legislature  repealed            the exemptions, except for the exemption for solicitations by                                            ____________________            5.  The magistrate judge rejected arguments that MSTA and the                                                             ____            case before  him turned  on "very  different" facts  and that            post-MSTA developments undermined MSTA's precedential value.                 ____                         ____                                         -8-            or on behalf  of law enforcement officers running  for public            office.6  The  Legislature then reenacted the  prohibition on            solicitations with  one  material change     the  Legislature            added the word "tangibly" prior to the word "benefits" in the            new      3702-A  so  as   to  "clarif[y]  that  the   ban  on            solicitations applies only when  the solicitations provide  a            tangible benefit to law enforcement."   Sen. Amend. B to L.D.            1682 (115th Legis. 1991).                      In  October  1991, the  Department of  the Attorney            General  proposed rules under the Unfair Trade Practices Act,            Me.  Rev.  Stat.  Ann.  tit.  5,    207,  defining  the  word            "tangibly"  as used in    3702-A.7   Me. Dep't of  Att'y Gen.            26-239  (1991).   These rules  provide  that "a  solicitation            which is  completely unrelated  to law  enforcement officers,            although  it increases good will toward law enforcement, does            not  confer  a tangible  benefit," whereas  "[a] solicitation                                            ____________________            6.  In  addition to  repealing  the  exception  allowing  the            Department of the Attorney General  to charge for the cost of            consumer education materials, Me. Rev. Stat.  Ann. tit. 25,              3706, the Legislature repealed the exception permitting State            Warden  Service  associations  to sell  guide  books  but not            advertisements, Me. Rev.  Stat. Ann. tit. 25,    3702, and an            exception  permitting non-law  enforcement  officers to  sell            advertising  in publications  of  the  Department  of  Inland            Fisheries and Wildlife, Me. Rev.  Stat. Ann. tit. 25,   3705.            The  Private and  Special  Laws  permitting solicitations  to            raise  funds for  the  construction of  a  memorial to  slain            police officers  expired by their  own terms.  Priv.  &amp; Spec.            Laws 1989, Ch. 47; Priv. &amp; Spec. Laws 1990, Ch. 114.            7.  The Attorney General has  rulemaking authority under  the            Unfair Trade Practices  Act.  Me. Rev.  Stat. Ann. tit.  5,              207-2.                                         -9-            which  funds a law enforcement program, which otherwise would            have to  be funded  through law  enforcement's own  budgeting            processes, does confer a tangible benefit."  Id.8                                                         ___                                            ____________________            8.  The   "Rules  Concerning   Unfair  Trade   Practices  and            Charitable Solicitations by Law Enforcement Officers" provide            the following:                 109.1    SOLICITATIONS  THAT  TANGIBLY BENEFIT  LAW                 ENFORCEMENT                      A   solicitation  tangibly   benefits  a   law                 enforcement agency, officer, or association if  the                 proceeds of that solicitation are used, represented                 to be used, or intended to be used to support a law                 enforcement  program   or  purpose   which  a   law                 enforcement agency  or association  otherwise would                 have  to fund through  its own budgeting mechanism.                 Examples  of solicitations  which tangibly  benefit                 law enforcement are as follows:  (1) A solicitation                 which raises  money from  community members  to pay                 for  the purchase of  equipment for a  local police                 department; (2) A  solicitation to send an  officer                 into school classrooms  to conduct anti-drug  abuse                 training (the money paying for the officer's salary                 and   for  education   materials);   and  (3)   The                 solicitation of funds for erection of a monument to                 memorialize slain officers, which was permitted  by                 prior law, Priv. &amp; Spec. Laws 1989, ch. 47.                 109.2  SOLICITATIONS THAT  DO NOT TANGIBLY  BENEFIT                 LAW ENFORCEMENT                      A   solicitation   of   money   for   purposes                 completely  unrelated to  law enforcement,  such as                 for  a charity  unrelated to law  enforcement, does                 not confer a  tangible benefit  on law  enforcement                 even if the solicitation effort increases good will                 toward law  enforcement.   For  example, if  police                 officers  engage  in  solicitations  of  money  for                 earthquake  victims in South America, and if no law                 enforcement   agency,   officer,   or   association                 receives, is intended to receive, or is represented                 to receive any of the proceeds of the solicitation,                 then that  solicitation program  will not  tangibly                                                       ___                 benefit law enforcement.                                         -10-                      Plaintiffs  brought the  present suit  on September            27, 1991,  seeking a  declaratory judgment  that    3702-A is            both  facially   unconstitutional  and   unconstitutional  as            applied.    Preliminary  and  permanent  injunctions  against            enforcement of    3702-A were requested.   Several plaintiffs            alleged  that they  wanted to  solicit  advertising from  the            business  community  and  to place  those  advertisements  in            police magazines like the "Maine State Trooper," and that the            Act  prohibited this  conduct.   According  to plaintiffs,               3702-A  violates the First  and Fourteenth Amendments because            it   is   unconstitutionally   overbroad,   serves   as    an            impermissible prior restraint on their freedom of speech, and            denies to them the equal protection of the laws.                      The  district court  held  that  the provision  for            enforcement of the  Act through injunctive relief  created an            impermissible  prior  restraint.   Otherwise,  it  upheld the            constitutionality of    3702-A.   See Auburn Police  Union v.                                              ___ ____________________            Carpenter  ("Auburn  II"), 798  F. Supp.  819 (D.  Me. 1992).            _________            Plaintiffs appeal, arguing that the Act is unconstitutionally            overinclusive and underinclusive.   Maine argues in  response            that the United  States Supreme Court's summary  dismissal of            the  appeal in  MSTA must  be  accorded binding  precedential                            ____            effect on the  issues of overbreadth and  underinclusiveness.            Even  if the  Supreme  Court's  summary  dismissal  does  not                                            ____________________            Me. Dep't of Att'y Gen. ch. 109.                                         -11-            control, Maine  argues  that the  Act  must still  be  upheld            because  it  is  narrowly  tailored  to  serve  a  compelling            interest.    Maine  also appeals  from  the  district court's            declaration that the  injunctive relief provision constitutes            an impermissible prior restraint.                                          II.                                         II.                      This appeal presents difficult  questions.  We must            decide,  first, what  issues are  foreclosed  by the  Supreme            Court's  dismissal  for want  of  a federal  question  of the            appeal  in MSTA.   And,  if any  of the First  and Fourteenth                       ____            Amendment issues raised  by appellants are not  foreclosed by            MSTA, we must decide them.            ____                      In  the enabling  Act, the  Maine  Legislature said            that the Act:                       clarifies and reaffirms  that the primary                      and  compelling  purpose  underlying  the                      laws   governing   solicitation   by  law                      enforcement officers is  to eliminate the                      coercion    that    is     inherent    in                      solicitations  by and  on  behalf of  law                      enforcement officers by  prohibiting such                      solicitations.   When  a law  enforcement                      officer  solicits   from  a   prospective                      donor,  the  donor may  not  feel totally                      free to  reject the  request in light  of                      the officer's position . . . .            Priv. &amp;  Spec. Laws 1991,  Ch. 510   5.   We set  forth in an            appendix the full text of this section of the enabling Act.                      In challenging  the Act, appellants contend it goes            far beyond what is constitutionally permissible and necessary            to   address  whatever   valid  concerns   exist  about   the                                         -12-            coerciveness of police solicitations.  Appellants insist that            such dangers,  if any, must  be regulated more  narrowly, for            example, by legislation prohibiting  solicitation by officers            in uniform,  or requiring that  solicitation be done  only by            persons who are not themselves police officers.   The present            total  ban on solicitation by  any "person" when the property            or any  part of it "in any way tangibly benefits, is intended            to tangibly benefit or is  represented to be for the tangible            benefit  of  any  law  enforcement  officer  . . . agency  or            . . . association," is  said to be  unconstitutionally broad,            foreclosing  innocent  actions  and  speech  that  could  not            possibly cause any of the evils the Maine Legislature  fears.            For   example,  the  Act  would  bar  placing  an  unattended            collection box for  a police charity in a  public place, even            though doing this could not, appellants say, exert a coercive            influence.   Appellants say that  the Act does not  adopt, as            the  First Amendment requires, the least restrictive means to            address  the evil  of police  coercion;  that it  is a  prior            restraint, not  only  because  of  the  conferred  injunctive            powers but because of its overall scheme; and that it offends            other constitutional principles.                      These  issues are not easy given the protection our            Constitution  affords speech  and speech-related  activities.            Nonetheless, we conclude that the Maine  Legislature's effort            to deal with the dangers of police solicitation is within its                                         -13-            constitutional authority.   We hold that the  Supreme Court's            dismissal of  the MSTA appeal  is binding on  the overbreadth                              ____            issue, and that  appellants' remaining constitutional  claims            are insufficient.                      A. Standard of Review                         __________________                      This  case was  submitted  below  on  a  stipulated            record and upon cross-motions for summary judgment.   In such            a  case, we  review the  district  court's determinations  de                                                                       __            novo.  Brewer v. Madigan, 945 F.2d 449, 452 (1st  Cir. 1991);            ____   ______    _______            New England  Legal Found.  v. Massachusetts  Port Auth.,  883            _________________________     _________________________            F.2d 157, 167 (1st Cir. 1989).                      The  standard   for  reviewing   appellants'  First            Amendment  claims depends upon  whether the Act's  effects on            speech are  content-based.    Content-based  regulations  are            subject to strict judicial  scrutiny; they are "presumptively            invalid."  R.A.V. v. St. Paul,  112 S. Ct. 2538, 2542 (1992);                       ______    ________            Simon &amp;  Schuster, Inc.  v. Members of  New York  State Crime            _______________________     _________________________________            Victims Bd., 112  S. Ct. 501,  508 (1991) ("the  Government's            ___________            ability  to impose content-based burdens on speech raises the            specter  that the  Government may  effectively  drive certain            ideas or viewpoints from the marketplace.  [citation omitted]            The  First  Amendment  presumptively   places  this  sort  of            discrimination beyond the power of the Government.").                      The district court regarded  the Act's restrictions            as content-based, being limited to solicitations of  property                                         -14-            that tangibly  benefits law enforcement officers  and groups,            and  not extending  to  other sorts  of  solicitations.   See                                                                      ___            Burson v. Freeman, 112 S. Ct. 1846, 1850-51 (1992) (plurality            ______    _______            opinion)  (statute  prohibiting  solicitation of  votes,  but            allowing  other forms of solicitation within one hundred feet            of poll is content-based); cf. Heffron v. International Soc'y                                       ___ _______    ___________________            for  Krishna Consciousness, Inc., 452 U.S. 640, 648-49 (1981)            ________________________________            (rule that no  person or organization, whether  commercial or            charitable,  may  solicit  except  from  a  rented  booth  is            content-neutral  restriction as  it "applies  evenhandedly to            all who wish  to distribute and sell written  materials or to            solicit funds").         Maine   denies  that   the  Act   is            content-based, arguing that    3702-A prohibits only  the act                                                                      ___            of  soliciting  for  something  that  tangibly  benefits  law            enforcement.   According  to the  State, the  content  of the            solicitation    i.e., whether the  message is that funds  are            needed for more equipment, to advocate strengthening the drug            laws, or to promote capital punishment  legislation    is not            relevant to   3702-A's ban on solicitation.                      But while the Act may not regulate the details of a            given solicitation, the fact remains that it applies to,  and            prohibits, only certain  types of solicitation, necessitating            an  examination of the content of  each solicitation in order            to determine whether  the Act's criteria are implicated.  The            Supreme Court has  pointed to "the reality  that solicitation                                         -15-            is  characteristically   intertwined  with   informative  and            perhaps persuasive  speech  seeking  support  for  particular            causes or  for particular  views on  economic, political,  or            social  issues, and for the reality that without solicitation            the  flow of  such  information  and  advocacy  would  likely            cease."   Shaumburg v.  Citizens for  Better Env't, 444  U.S.                      _________     __________________________            620, 632  (1979).  Like the court below, we conclude that the            Act falls on the side  of content-based regulation.  As such,            it  is  subject  to  "exacting  First  Amendment  scrutiny."9            Riley v. National Fed'n of the Blind, Inc., 487 U.S. 781, 788            _____    _________________________________            (1988).                      B. Overbreadth     Binding  Precedential Effect  of                         ________________________________________________            MSTA            ____                                            ____________________            9.  Perhaps it might be argued    although Maine has not done            so     that the  Act is content-neutral  because it  seeks to            prevent only the harmful "secondary effects" of solicitation,            i.e., the implied coercion inherent in solicitation on behalf            of  law enforcement  personnel, with  the  resulting loss  of            integrity.   Restrictions based on the content of speech that            seek to regulate  only the "secondary effects"  of the speech            have,  in  certain  situations,  been deemed  content-neutral            because they "serve purposes unrelated to the content  of the            expression."  Ward v. Rock  Against Racism, 491 U.S. 781, 791                          ____    ____________________            (1989);  see Renton v. Playtime  Theatres, Inc., 475 U.S. 41,                     ___ ______    ________________________            47 (1986), reh'g denied,  475 U.S. 1132 (1986).  But  even if                       ____________            this argument had not been  waived, it is doubtful that these            cases,  involving  very   dissimilar  facts  and   regulatory            schemes, would  apply here.  Cf.  R.A.V., 112 S.  Ct. at 2549                                         ___  ______            (listeners' reactions to speech are not "secondary effects").            In  any event,  we need  not enter  into the  thicket of  the            "secondary effects" doctrine, as we conclude, infra, that, to                                                          _____            the  extent not  controlled by  the  Supreme Court's  summary            dismissal of the  MSTA appeal, the Act survives the stringent                              ____            scrutiny applicable to content-based regulation.                                         -16-                      We  move  to  Maine's  argument  that  the  summary            dismissal  of the appeal in MSTA by  the Supreme Court of the                                        ____            United States is  entitled to binding precedential  effect on            the issues of overbreadth and underinclusiveness.10                        The  Supreme  Court's  summary  disposition  of  an            appeal to  it is an  adjudication on the merits  that must be            followed  by lower courts,  subject, of course,  to any later            developments  that alter  or erode  its authority.   Hicks v.                                                                 _____            Miranda, 422 U.S. 332, 343-45 (1975).  We need, therefore, to            _______            determine  the "reach  and content"  of  the Supreme  Court's            dismissal of  the appeal  in MSTA for  want of  a substantial                                         ____            federal question.  See id. at 345 n.14.11                               ___ ___                                            ____________________            10.  We find no  merit in plaintiffs' contention  that Auburn                                                                   ______            I, 756 F.  Supp. 610, is  stare decisis.   This court is  not            _            bound by a district court opinion that was never appealed to,            or affirmed in, this court.   See 1B Moore's Federal Practice                                          ___            0.402[2], p.I-23 (1993) ("the doctrine of stare decisis makes            a decision on  a point of law in one case a binding precedent            in  future cases  in the same  court, and such  courts as owe                              ___________________________________________            obedience to the decision.") (emphasis added).            _________________________            11.  Both  courts and commentators  have noted the difficulty            of ascertaining the proper  reach of a Supreme  Court summary            disposition.      See   Hicks,   422   U.S.   at   345   n.14                              ___   _____            ("[a]scertaining the reach and content of summary actions may            itself  present  issues   of  real  substance");   Fusari  v.                                                               ______            Steinberg,   419   U.S.  379,   391  (1975)   (Burger,  C.J.,            _________            concurring) ("Another common  response to summary affirmances            . . . is confusion as to what they actually do mean."), reh'g                                                                    _____            denied, 470 U.S.  955 (1975); Preston v. Seay,  684 F.2d 172,            ______                        _______    ____            173  (1st Cir.  1982) ("It  is of  course often  difficult to            understand  the   proper  reach  of  Supreme   Court  summary            affirmances  and dismissals for want of a substantial federal            question");  Note,   "The  Precedential  Effect   of  Summary            Affirmances  and Dismissals for Want of a Substantial Federal            Question  by the  Supreme Court  After Hicks  v. Miranda  and                                                   _____     _______            Mandel v.  Bradley," 64 Va.  L. Rev. 117, 130  (1978) (noting            ______     _______                                         -17-                      In  Mandel v.  Bradley, 432  U.S.  173 (1977),  the                          ______     _______            Supreme   Court  said   that,   "[s]ummary  affirmances   and            dismissals for want of a substantial federal question without            doubt  reject  the  specific  challenges  presented  in   the            statement  of  jurisdiction  and  do  leave  undisturbed  the            judgment appealed from.   They do  prevent lower courts  from            coming  to   opposite  conclusions  on  the   precise  issues            presented and  necessarily decided by those actions."  Id. at                                                                   ___            176; see Illinois State Bd. of Elections v. Socialist Workers                 ___ _______________________________    _________________            Party, 440  U.S. 173,  183 (1979)  ("Questions which  'merely            _____            lurk in the  record,' are not resolved, and  no resolution of            them may be  inferred.") (quoting Webster  v. Fall, 266  U.S.                                              _______     ____            507,  511 (1925)).   The Supreme Court's  summary disposition            will   not  control   later  lower   court  cases   involving            significantly dissimilar facts.   See Mandel, 432 U.S. at 177                                              ___ ______            (vacating lower court  decision that  summary affirmance  was            binding  because  facts  in  summary  affirmance  were  "very            different" from those before lower court).  The Supreme Court            further  cautioned that  summary dispositions "should  not be            understood  as breaking new ground but as applying principles            established  by  prior  decisions  to  the  particular  facts            involved."  Id. at 176.                          ___                                            ____________________            "the  difficulty inherent  in  any  attempt  to  interpret  a            disposition without an opinion").                                         -18-                      In  ascertaining the  "reach  and  content" of  the            Court's summary  dismissal in  MSTA, we  may not  rely solely                                           ____            upon the reasoning of the  Maine Law Court.  Id. ("Because  a                                                         ___            summary affirmance is an affirmance of the judgment only, the            rationale of  the affirmance may  not be gleaned  solely from            the opinion below."); accord Anderson v. Celebrezze, 460 U.S.                                  ______ ________    __________            780, 785  n.5  (1983); Fusari,  419 U.S.  at 391-92  (Burger,                                   ______            C.J.,   concurring).     Instead,  we   should  examine   the            jurisdictional  statement filed in  the Supreme Court  of the            United States and  any other relevant aid to  construction in            order   to  ascertain   what   issues  were   "presented  and            necessarily decided" by the Court's summary dismissal.12                       Examining   the   MSTA   jurisdictional  statement,                                        ____            together  with the accompanying papers filed with the Supreme            Court and the opinions of  the lower courts, we conclude that            appellants in MSTA specifically presented the issue of facial                          ____            overbreadth,  including  whether  the  Act  was broader  than            justified  by the underlying  state interest, to  the Supreme            Court.  We think the Court was obliged to have considered and                                            ____________________            12.  Besides contesting whether the current case presents the            same  issues that were  involved in MSTA,  plaintiffs contend                                                ____            that  the  facts  in  the  instant case  and  MSTA  are  very                                                          ____            different; that MSTA deviated from established constitutional                            ____            principles  and   broke  new  ground;   and  that   doctrinal            developments have  undercut the  precedential value  of MSTA.                                                                    ____            Like  the district  court in  Auburn I,  we find  these three                                          ________            contentions lack merit.   756 F.  Supp. at 614.   Unlike  the            court in  Auburn I,  however, we also  conclude that  MSTA is                      ________                                    ____            entitled  to binding  precedential  value  on  the  issue  of            substantial overbreadth.                                         -19-            to have rejected this issue  as a predicate to its dismissing            of the  appeal for  want of  a substantial  federal question.            The issue of so-called underinclusiveness, however,  does not            so clearly appear in the papers, and later changes in the Act            further  erode the  present  bearing of  MSTA on  that topic.                                                     ____            Therefore, the  dismissal in  MSTA is binding  upon us  as to                                          ____            overbreadth, but is not binding as to underinclusiveness, nor            binding as to certain "as applied" issues the plaintiffs have            raised.  We turn first to overbreadth.                      In  the strict sense, overbreadth is a doctrine for            facially invalidating  a statute  that is  "so broad  that it            'may inhibit the  constitutionally protected speech  of third            parties.'"  N.Y. State Club Ass'n v. New York, 487 U.S. 1, 11                        _____________________    ________            (1988) (quoting  Members of City  Council of  Los Angeles  v.                             ________________________________________            Taxpayers for Vincent,  466 U.S. 789,  798 (1984)); Regan  v.            _____________________                               _____            Time, Inc.,  468 U.S. 641, 651 n.7 (1984).   There must be "a            __________            realistic  danger that the  statute itself will significantly            compromise recognized First Amendment  protections of parties            not before the  Court."  Id. (quoting Taxpayers  for Vincent,                                     ___          ______________________            466 U.S. at  801).  The  overbreadth "must not only  be real,            but substantial as well, judged in relation to the  statute's            plainly legitimate sweep."  New York v. Ferber, 458 U.S. 747,                                        ________    ______            770 (1982).                       Plaintiffs  argue that the Act is overbroad in this            classic sense.   For example,  without themselves necessarily                                         -20-            wishing  to engage in such conduct, they note that solicitors            may wish  to put out  unattended collection boxes  to receive            police  donations.   This, they  say,  would be  noncoercive,            since  no one would know  who donated or  did not donate, yet            the  Act would prohibit it.   Similarly, plaintiffs point out            that  hypothetical  private  citizens,  unconnected with  the            police, are prevented by the Act from soliciting donations to            law   enforcement  from   friends       for  instance,   from            voluntarily soliciting funds to buy a new cruiser for a local            department.   This, too, is said to be  an example of how the            Act  sweeps too  broadly,  prohibiting protected  conduct  by            third parties.13                        Classic  overbreadth,  however,   was  an  argument            specifically  presented  to  the Supreme  Court  in  the MSTA                                                                     ____            appeal  and necessarily  rejected by  its  dismissal of  that            appeal for want of a substantial federal question.                                            ____________________            13.  One can  also hypothesize, for  purposes of  overbreadth            analysis, other arguably unconstitutional applications of the            Act.   For  example, the  Act might  be construed  to prevent            private citizens  from asking for  money to lobby for  a bill            that  raises police  salaries.   However,  because the  Act's            prohibition runs only against fundraising for  the "tangible"            benefit  of  law  enforcement, the  Maine  courts  might well            reject  any such  interpretation.  Speculative readings  like            this would seem best decided,  if ever sought to be enforced,            in an  "as-applied"  lawsuit,  rather  than  hypothesized  in            advance  for purposes of facial overbreadth analysis.  In any            case, as  discussed infra,  we consider  the issue of  facial                                _____            overbreadth to be  foreclosed by the Supreme  Court's summary            dismissal of the MSTA appeal.                               ____                                         -21-                      When so  dismissing, the  Supreme Court  had before            it,  both in M.S.T.A.'s  jurisdictional statement and  in its            notice  of appeal, appellants'  explicit contention  that the            Act  was overbroad.   And,  as noted  supra, the  Law Court's                                                  _____            underlying  opinion from  which appeal  was  being taken  had            specifically discussed and rejected  overbreadth as a  ground            for invalidating the Act.                      It is true  that in first describing  the questions            presented on appeal,  M.S.T.A.'s jurisdictional statement                after  setting  out the  terms  of  the  Act     defined  the            question only as  whether or not the Act  "violates the First            and Fourteenth Amendments to the United States Constitution."            Later,  however, under  the heading  of  "Stated Reasons  for            Plenary  Consideration," the  jurisdictional statement  urged            upon the Court the desirability of its being able to question            counsel as  to  "the overbreadth  doctrine."   In a  footnote            appended to that suggestion, M.S.T.A. stated,                      "From the outset,  appellant has asserted                      the  overbreadth  doctrine  of  NAACP  v.                                                      _____                      Button, 371 U.S. 415 (1963)."                        ______            In NAACP, the Court had stated, among other comments relevant               _____            to  overbreadth,  "Furthermore,  the instant  decree  may  be            invalid  if  it  prohibits   privileged  exercises  of  First            Amendment rights whether or not the record disclosed that the            petitioner has engaged in privileged conduct."  Id. at 432.                                                              ___                                         -22-                      That overbreadth was specifically presented to, and            rejected by, the  Supreme Court is underscored  by M.S.T.A.'s            statement in its  notice of appeal to the  Supreme Court that            appeal was taken from the portion of the Law Court's decision            that "the  statute in question  is not overbroad."   We find,            therefore, that in denying the MSTA appeal, the Supreme Court                                           ____            was  expressly  presented  with,   and  must  therefore  have            rejected,  the argument  that  the  Act was  unconstitutional            under the First Amendment because of overbreadth.                        We  think  the  Court's  rejection  of  overbreadth            subsumed, besides the "classic" overbreadth described  above,            another common variety of facial overbreadth claim.  The term            "overbreadth" is used in First Amendment contexts not only to            invalidate  statutes that  are  so broad  as  to inhibit  the            constitutionally protected  speech of  third parties,  supra,                                                                   _____            but  to facially invalidate statutes that inhibit free speech            and  are  unsupported  by  a  sufficiently  compelling  state            interest or are  not tailored narrowly  to such an  interest.            See Secretary of  Maryland v. Joseph H. Munson  Co., 467 U.S.            ___ ______________________    _____________________            947, 965-66 n.13 (1984) ("where  the defect in the statute is            that  the means chosen  to accomplish the  state's objectives            are  too  imprecise, so  that  in  all its  applications  the            statute  creates an unnecessary risk of chilling free speech,            the statute is properly subject to facial attack."); see also                                                                 ________                                         -23-            N.Y. State Club  Ass'n, 487 U.S. at 11;  Schaumberg, 444 U.S.            ______________________                   __________            at 639, Taxpayers for Vincent, 466 U.S. at 797.                     _____________________                      Any present claim  of facial invalidity based  on a            purported absence of compelling state interest in prohibiting            public   solicitation  for   the  tangible  benefit   of  law            enforcement officers and agencies seems to us to be precluded            by  the Supreme  Court's  dismissal  of M.S.T.A.'s  appeal.14            Similarly, a facial invalidity claim based on an alleged lack            of narrow tailoring  is likewise precluded.   We so  conclude            not  alone from  the Law  Court's own  ruling in  MSTA, which                                                              ____            expressly  found both  a compelling  state  interest and  the            requisite  narrow tailoring, but from express language in the            jurisdictional statement submitted by M.S.T.A. when appealing            to the  Supreme Court  from the Law  Court's ruling.  In that            statement, as already  noted, the terms of the challenged Act            were  set  forth  and  an  appeal  on  First  and  Fourteenth            Amendment grounds noted.   M.S.T.A. then went on to  complain            that the  Law Court had held that the Act "in fact interferes            with  First  Amendment freedoms,  but  that compelling  state            interests  exist which  permit the  interference."   M.S.T.A.            characterized  the  Law  Court's version  of  the  compelling            interest as "the  interest of the State  in the image of  its                                            ____________________            14.  As later sections of this opinion demonstrate, we do not            regard the  Court's denial of  appeal in MSTA as  barring our                                                     ____            consideration  of  claims  attacking the  sufficiency  of the            State's  compelling  interest   based  on  underinclusiveness            (equal protection) grounds.                                         -24-            law enforcement officers" and as "an intangible harm" allowed            in  the Law Court  to "deprive law  enforcement associations,            and others, of  protected First Amendment rights."   M.S.T.A.            urged summary  reversal because  the "Law  Court, absent  any            evidence  of actual or perceived coercion, apparently assumed            the  compelling state  interest  into  existence  based  upon            comments  in the legislative  history of the  Act."  M.S.T.A.            urged the  Supreme Court     if unwilling to reverse  the Law            Court summarily    to question counsel as to "the broad sweep            of the State's alleged compelling interest, together with the            appellant's assertion of the 'overbreadth doctrine.'"   These            statements  were prefaced  by mention  of  the trial  court's            finding  that appellants  had  not engaged  "in  any form  of            coercion or otherwise used their official position to solicit            advertising,"  a comment supportive of other remarks that the            Law Court had  rested the State's compelling  interest solely            on  a need  to conserve  the "image"  of its  law enforcement            officers.                      We think  the above statements  necessarily alerted            the Supreme  Court to a  claim of "overbreadth" based  on the            notion that the Act's burdens on speech went beyond any truly            compelling state interest.                      The  challenged  language  of  the present  Act  is            virtually identical in  all material respects to  the statute            found to  be  constitutional in  MSTA.   The  key  difference                                             ____                                         -25-            between the current  version of the Act, Me.  Rev. Stat. Ann.            tit. 25,   3702-A, and the prior version of the Act, Me. Rev.            Stat. Ann. tit. 25,    3702, is that the current version  now            provides that  the prohibition on  solicitation applies  only            when  solicitation "tangibly"  benefits  any law  enforcement            officer, agency or  association.  This clarifies  that police            solicitation   for  charitable   causes   unrelated  to   law            enforcement is not barred.   Arguably, under the old  statute            such solicitation was barred because  it intangibly benefited            law  enforcement  by  providing good  will.    Even assuming,            however, that the  addition of the word  "tangible" to modify            "benefits" in the present version worked a substantive change            in  the law,  that change  only narrowed  the breadth  of the            Act's prohibition.   Because    3702-A is even  narrower than            the  former   3702, the  Supreme Court's summary dismissal of            MSTA, in  which the  Supreme Court  necessarily rejected  the            ____            overbreadth  and  compelling  interest  challenges  described            above, is binding precedent on whether    3702-A is overbroad            in  the senses  just discussed.   See  Glen Theatre,  Inc. v.                                              ___  ___________________            Pearson,  802 F.2d  287, 290  (7th  Cir. 1986)  (if issue  of            _______            overbreadth is  raised in  jurisdictional statement,  Supreme            Court's summary affirmance binds lower courts on that issue).                      C. Underinclusiveness                         __________________                                         -26-                      While   the   MSTA    appeal   foreclosed   present                                    ____            overbreadth claims, appellants  raise other  claims which  in            our view, the appeal has not foreclosed.  We turn to these.                      Facial  First  Amendment  challenge is  allowed  to            statutes  burdening speech that are so grossly underinclusive                                                           _____            as  to cast  doubt on  the compelling  nature of  the state's            asserted interest.  See R.A.V.,  112 S. Ct. at 2547 (facially                                ___ ______            invalidating ordinance that applied  only to "fighting words"            that provoke violence  "on the basis  of race, color,  creed,            religion  or gender."); Florida Star v. B.J.F., 491 U.S. 524,                                    ____________    ______            541-42  (1989) (Scalia,  J., concurring)  ("a  law cannot  be            regarded  as protecting an  interest 'of the  highest order,'            and thus justifying a restriction on truthful speech, when it            leaves appreciable  damage to that supposedly  vital interest            unprohibited."); FCC v. League of Women Voters, 468 U.S. 364,                             ___    ______________________            396 (1984) ("patent . . . underinclusiveness . . . undermines            the likelihood of a genuine [governmental] interest").15                        As already discussed,  the jurisdictional statement            in  MSTA required the  Supreme Court to  consider whether the                ____                                            ____________________            15.  A statute's  underinclusiveness also indicates  that the            government  is not, in fact, serving the proffered compelling            interest.     Florida  Star,   491  U.S.   at  540   ("facial                          _____________            underinclusiveness of  [statute] raises serious  doubts about            whether Florida is, in fact,  serving, with this statute, the            significant  interests  which  [the  State] invokes");  Women                                                                    _____            Voters, 468 U.S.  at 396 (because statute  is underinclusive,            ______            it  "provides  only  ineffective or  remote  support  for the            government's purpose");  Carey v.  Brown, 447  U.S. 455,  465                                     _____     _____            (1980)   ("nothing   in  the   content-based   labor-nonlabor            distinction has any bearing whatsoever on privacy").                                         -27-            Maine  Act  was  supported by  a  compelling  state interest.            Plaintiffs in the present case,  however, assert that even if            the version of the Maine Act upheld by the Maine Law Court in            MSTA  was supported  by  a  compelling  state  interest,  the            ____            Supreme  Court's summary  dismissal  of  MSTA  is  no  longer                                                     ____            binding precedent because the  Maine Legislature has  enacted            and has later repealed or  let expire, various exceptions  to            the  Act's  prohibition  on solicitation  that  benefits  law            enforcement.    According  to  plaintiffs, the  Legislature's            former enactment of  these now-defunct exceptions permanently            undermined  the Act's  compelling  interest.16   We disagree.            We know of  no precedent for invalidating a  statute based on            repealed exceptions:   the Maine legislature, having restored            the statute something close to its original form, is entitled            to the same respect afforded to its original judgment.                      While we reject plaintiffs' assertion that repealed            exceptions to the Act prevent  Maine from ever again having a            compelling interest in prohibiting solicitation beneficial to            law enforcement, we  take more seriously  plaintiffs' further            contention  that extant exceptions  to the Act  undermine the                             ______            State's assertion of a compelling state interest.  Plaintiffs            identify   three  such  exceptions,  said  to  make  the  Act            unconstitutionally  underinclusive:    (1)  The  Act  permits                                            ____________________            16.  As  the  magistrate  judge  wrote  in   his  Recommended            Decision:  "the proverbial egg cannot be unscrambled."                                           -28-            solicitations  that  intangibly  benefit  the  police,  e.g.,            solicitations  by police officers  for a public  charity; (2)            the  Act permits solicitations  that benefit  state officials            other than law enforcement officers;  and (3) The Act permits            solicitations   on  behalf   of   law  enforcement   officers            campaigning for public office.  While the latter distinctions            were present  in the statute upheld in MSTA, the issue of the                                                   ____            Act's  alleged  underinclusiveness  and  its  effect  on  the            compelling  state interest supporting the Act were not raised            in either the Maine courts or in the jurisdictional statement            to  the Supreme  Court.17   Because  the issue  of the  Act's            purported underinclusiveness was not presented to the Supreme            Court in MSTA, the Supreme  Court's summary dismissal of that                     ____            case is  not binding precedent  on this issue.   See Illinois                                                             ___ ________            State Bd.  of Elections,  440 U.S.  at 183 ("Questions  which            _______________________            merely lurk in the record are not resolved, and no resolution            of them may be inferred.") (internal quotation omitted).                      The  State  contends   that  the  Act's   purported            underinclusiveness  does not render it unconstitutional.  The            State relies,  as did  the district court,  on the  Hatch Act            cases,  see,  e.g.,  United  States  Civil  Serv.  Comm'n  v.                    ___   ____   ____________________________________                                            ____________________            17.  While  the Maine  Law  Court in  MSTA  did consider  the                                                  ____            repealed  Act's  exception  for   game  wardens,  finding  no            justification  for   differentiating  in   treatment  between            M.S.T.A.  and  the  game  wardens, the  statutory  exceptions            challenged by  plaintiffs here  either were  not yet  enacted            when the Supreme Court summarily  dismissed MSTA, or were not                                                        ____            challenged in that case.                                         -29-            National  Ass'n of Letter Carriers, 413 U.S. 548, 556 (1973);            __________________________________            United Pub. Workers v. Mitchell, 330 U.S. 75, 100 (1947), for            ___________________    ________            the proposition that a legislature need not address an entire            social  problem at  one time.   In the  Hatch Act  cases, the            Supreme  Court  upheld  restrictions  on  partisan  political            activity  by  civil  servants  even  though  other  types  of            political activity were not similarly restricted.  But, while            helpful to  some degree, the Hatch  Act cases are not  on all            fours.  The  Hatch Act cases  rest upon the  notion that  the            government has special rights to restrict  partisan political            speech of its  employees and on its property.   Women Voters,                                                            ____________            468 U.S.  at 401  n.27;  see International  Soc. for  Krishna                                     ___ ________________________________            Consciousness, Inc. v. Lee, 112 S. Ct. 2701, 2705 ("Where the            ___________________    ___            government is acting  as a proprietor, managing  its internal            operations, rather than  acting as a  lawmaker with power  to            regulate or license, its action  will not be subjected to the            heightened review to  which its actions as a  lawmaker may be            subject.").    The Hatch  Act cases  are inapplicable  to the            question   of  whether   a   statute  is   unconstitutionally            underinclusive when that statute, like the Maine Act at issue            here, restricts  the speech of the general  citizenry as well            as that of public employees.                      When a content-based regulation restricts both  the            speech  of public  employees and  the  general citizenry,  it            "simply  cannot  be  defended  on  the  ground  that  partial                                         -30-            prohibitions may effect  partial relief."  Florida  Star, 491                                                       _____________            U.S. at  540.   The Supreme Court  explained why  a statute's            content-based underinclusiveness is  objectionable when First            Amendment  rights are at stake, in Erznoznik v. Jacksonville,                                               _________    ____________            422 U.S. 205 (1975):                      This    Court     frequently    has     upheld                 underinclusive classifications on  the sound theory                 that a  legislature  may deal  with one  part of  a                 problem without  addressing all of  it. See,  e.g.,                                                         ___   ____                 Williamson v. Lee  Optical Co., 348 U.S.  483, 488-                 __________    ________________                 489   (1955).     This  presumption   of  statutory                 validity,   however,   has   less   force  when   a                 classification  turns  on  the  subject  matter  of                 expression.  "[A]bove all else, the First Amendment                 means  that government  has  no  power to  restrict                 expression because  of its message,  its ideas, its                 subject matter, or  its content."  Police  Dept. of                                                    ________________                 Chicago v.  Mosley, 408 U.S., at 95.   Thus, "under                 _______     ______                 the  Equal  Protection Clause,  not to  mention the                 First Amendment itself," id., at 96, even a traffic                                          ___                 regulation  cannot  discriminate  on  the basis  of                 content  unless there  are  clear  reasons for  the                 distinctions.            Id. at 215.            ___                      In order to  avoid the conclusion under  either the            Equal Protection  Clause or  the First  Amendment18 that  the                                            ____________________            18.  When reviewing  content-based distinctions,  the Supreme            Court has not differentiated the Equal Protection Clause from            the First Amendment.   R.A.V., 112 S. Ct. at  2544 n.4 ("This                                   ______            Court . .  . has occasionally fused the  First Amendment into            the Equal Protection Clause"); Burson, 112 S.  Ct. at 1850-52                                           ______            n.3 ("Under either a free-speech or  equal-protection theory,            a  content-based regulation of  political speech in  a public            forum is  valid only  if it  can survive  strict scrutiny.");            Erznoznik, 422 U.S.  at 215  (holding that  under either  the            _________            First Amendment or the Equal Protection Clause, there must be            "clear reasons" for  content-based distinctions); Mosley, 408                                                              ______            U.S. 92, 95 (1972) ("Of course, the equal protection claim in            this  case  is  closely  intertwined  with   First  Amendment            interests."); Harwin v. Goleta Water Dist., 953 F.2d 488, 490                          ______    __________________                                         -31-            Maine  Act is  unconstitutionally  underinclusive, the  State            must be able  to point to clear reasons  for the distinctions            drawn  by the Act.   See Austin v.  Michigan State Chamber of                                 ___ ______     _________________________            Commerce,  494  U.S.  652, 666  (1990)  (the  press's "unique            ________            societal role" provides a "compelling reason for the state to            exempt  media   corporations  from  the  scope  of  political            expenditure limitations"); Mosley, 408 U.S. at 100 (ordinance                                       ______            prohibiting all peaceful picketing other than labor picketing            is  unconstitutional  absent  showing  that   the  former  is            "clearly more disruptive"); see also Cincinnati  v. Discovery                                        ________ __________     _________            Network, Inc., 113 S. Ct. 1505, 1524 (1993) (Rehnquist, C.J.,            _____________            dissenting) (in  noncommercial speech  cases,  the Court  has            refused  to   accept  distinctions  between   restricted  and            nonrestricted  speech   when  those  distinctions   bear  "no            relationship  to the  interests asserted  for regulating  the            speech in the first place");  Fantasy Book Shop, Inc. v. City                                          _______________________    ____            of Boston, 652 F.2d 1115, 1121 n.6 (1st Cir. 1981) (rejecting            _________            challenge of  facial underinclusiveness  because "legislature            could  reasonably  conclude  that  non-commercial  amusements            present sufficiently less  likelihood of the harms  sought to                                            ____________________            n.3 (9th Cir. 1991) ("Under either [equal protection or first            amendment] analysis, .  . . independent justification  of the            discrimination  is required."); News America Pub. v. FCC, 844                                            _________________    ___            F.2d 800, 804  (D.C. Cir. 1988) (claim  of underinclusiveness            "lies at the intersection of the First Amendment's protection            of  free speech and the Equal Protection Clause's requirement            that  government   afford  similar  treatment   to  similarly            situated persons").                                         -32-            be  prevented to justify their differential treatment").  The            State's justifications  for the Act's  differential treatment            must be "carefully scrutinized."  Carey, 447 U.S. at  461-62.                                              _____            Although  the case at hand is close, we believe the State has            articulated   satisfactory   explanations   for   the   Act's            differential treatment.                      To justify  the "exception" in    3702-A permitting            solicitations that  only intangibly  benefit the  police, the            State  relies  principally upon  the  following  statement of            legislative intent  included in  the 1991  amendments to  the            Act:                      The  Legislature   .  .   .  finds   that                      solicitations [by police]  for charitable                      purposes  unrelated  to  law  enforcement                      activities  are  not  inherently coercive                      because  the person  solicited will  know                      that law enforcement agencies or officers                      do  not  gain any  tangible  benefit and,                      consequently, will not  be concerned with                      who donates.            Priv. &amp;  Spec. Laws 1991, Ch. 510,   5.  We find this to be a            supportable basis for  the distinction.  It is  true that the            State has provided no purported empirical evidence to back up            that  finding.19    The  district  court,  in  upholding  the                                            ____________________            19.  Plaintiffs  contend  that  by  simply asserting  without            empirical  evidence  that solicitations  tangibly  benefiting            police are inherently coercive, the State has:                 taken  the effect of  the statute and  posited that                            ______                 effect  as the State's interest.  If accepted, this                 sort  of  circular  defense  can sidestep  judicial                 review  of almost any statute, because it makes all                 statutes  look narrowly  tailored. .  .  .   "Every                                         -33-            constitutionality of the  Act, stated that it  would overlook            the lack of empirical evidence  and defer to the "legislative            premise that these types of fundraising are different," since            whether  there is  as  much  coercion  in  solicitations  for            charitable causes as for law enforcement purposes is a matter            "on which reasonable minds may differ."                      We agree that the lack of empirical evidence is not            fatal.  See Burson, 112 S. Ct. at 1856 (noting the difficulty                    ___ ______            of "isolat[ing] the exact effect of [laws restricting certain            speech  at polling places] on voter intimidation and election            fraud" and  suggesting that "[s]uccessful  voter intimidation            and  election fraud  is successful  precisely  because it  is            difficult to detect");  Frisby v. Schultz, 487  U.S. 434, 486                                    ______    _______                                            ____________________                 content-based  discrimination  could be  upheld  by                 simply  observing  that  the  State  is  anxious to                 regulate the designated speech."             Simon  &amp;  Schuster,  112  S.  Ct. at  510  (quoting  Simon  &amp;            __________________                                   ________            Schuster, Inc. v. Fischetti, 916 F.2d 777, 785 (2d Cir. 1990)            ______________    _________            (Newman, J., dissenting)).                 Plaintiffs' reliance  on Simon &amp; Schuster  is misplaced.                                          ________________            In that  case, New  York argued that  its Son-of-Sam  law was            supported by a compelling interest because it "ensur[ed] that            criminals do not profit from story-telling about their crimes            before  their victims  have a  meaningful  opportunity to  be            compensated  for their  injuries."   The  Court rejected  New            York's argument  that  this narrow  interest  was  compelling            because the State  could not explain why it  "should have any            greater interest in compensating victims from the proceeds of            such 'storytelling'  than from  any of  the criminal's  other            assets."  Id.  By contrast,  the State of Maine can and  does                      ___            explain why solicitations by police  personnel for charitable            purposes unrelated to  law enforcement are not  as inherently            coercive   as  solicitations   that   tangibly  benefit   law            enforcement officers, agencies or associations.                                         -34-            (1988)  (noting   that  targeted  residential   picketing  is            "inherently" intrusive of  residential property).  While  the            Supreme  Court has occasionally  cited the lack  of empirical            evidence as a further ground  for striking down a restriction            on  speech,  see,  e.g.,  Peel  v.  Attorney  Registration  &amp;                         ___   ____   ____      _________________________            Disciplinary  Comm'n,  496  U.S. 91,  106  (1990) (plurality)            ____________________            ("Given the complete  absence of any evidence  of deception,"            Court rejects state's contention that attorney's  advertising            was actually misleading),  the Court  has never  laid down  a            categorical  rule requiring that  empirical evidence be shown            to  support every  statutory  restriction  on  speech.20    A            categorical  requirement would be unwise, we think, given the            difficulty  of  securing  definitive empirical  evidence  for            unquantifiable issues of this sort.                       The    Maine    Legislature's    conclusion   seems            intuitively reasonable that  solicitations    even when  made            by  law  enforcement  personnel      for charitable  purposes            unrelated to law  enforcement are not as  inherently coercive            as  solicitations  that   tangibly  benefit  law  enforcement            officers, agencies  or associations.   Persons approached  to            contribute  funds for the tangible benefit of law enforcement            personnel, agencies  or associations might well  believe that                                            ____________________            20.  The Court has, however, required "substantial support in            the  record or findings" when "rights of political expression            and association" are concerned.  E.g., In re Primus, 436 U.S.                                             ____  ____________            412, 434 n.8 (1978).                                         -35-            the officers would be more  deeply offended by a refusal than            by  rejection  of officers'  requests  for  a donation  to  a            charity   entirely  unrelated  to   law  enforcement.     The            Legislature  "could  reasonably   conclude  that  [charitable            solicitations] present  sufficiently less  likelihood of  the            harms  sought to be  prevented to justify  their differential            treatment."   See Fantasy Book  Shop, Inc., 652 F.2d  at 1121                          ___ ________________________            n.6.                      Plaintiffs' contention  with respect  to the  Act's            distinction between law enforcement officials and other types            of  public servants  fares no  better.   The police  occupy a            unique role.   They are empowered to enforce  a wide array of            criminal laws  and to protect  the property and lives  of the            general citizenry.  To do this they are armed, given enhanced            arrest powers, and  given access to information  networks and            other tools denied to most citizens.  Police necessarily have            considerable on-the-spot authority of a discretionary sort               whether  to give  or withhold  a traffic  ticket, to  make an            arrest, or to  notice or disregard a violation.   While even-            handed  treatment is the  ideal, officers may,  and sometimes            do, enforce  laws in  a less than  neutral manner.   For this            reason, citizens and local businesses will try to stay on the            good side of  police, fearing    whether or  not correctly               that   a  miffed  police  officer  and  his  associates  will            retaliate, or will turn their backs when most needed.  Hence,                                         -36-            the Maine  Legislature could reasonably conclude  that police            solicitation has a special potential for coercion not present            in solicitation by other officials.                        Plaintiffs'  third example  of the  Act's purported            underinclusiveness     the  exception  for  solicitations  on            behalf  of law enforcement officers running for public office                is  also  unavailing.   As  the  district  court properly            recognized, law  enforcement officers  who run  for electoral            office, primarily county  sheriffs, themselves have  separate            First Amendment  interests.  See  Burson, 112 S. Ct.  at 1850                                         ___  ______            ("'the  First  Amendment  'has its  fullest  and  most urgent            application'  to  speech   uttered  during  a   campaign  for            political office'") (quoting Eu  v. San Francisco  Democratic                                         __     _________________________            Comm., 489 U.S. 214, 223 (1989) (quoting Monitor  Patriot Co.            _____                                    ____________________            v.  Roy, 401  U.S. 265,  272  (1971))).   A rule  prohibiting                ___            "campaign  fundraising  by  law enforcement  personnel  would            effectively  disqualify them from  an office such  as sheriff            for,  unless  they  were  independently  wealthy,  they could            easily   be  outspent  by  opponents  who  were  not  in  law            enforcement."    Auburn  II,  798  F.  Supp.  at  827.    We,                             __________            therefore,  agree  with  the district  court  that  the First            Amendment  right of  law enforcement  officers  to engage  in            campaign speech provides a substantial  justification for the            Act's  exemption of  such  speech  from  its  prohibition  on                                         -37-            solicitation.21    See   Austin,  494  U.S.  at   668  (media                               ___   ______            exemption from  prohibition  on  corporations  using  general            treasury funds to support state candidate  elections "ensures            that the  Act does  not hinder  or prevent  the institutional            press from  reporting on,  and  publishing editorials  about,            newsworthy events").                      As  the State can  furnish "clear reasons"  for the            asserted  exemptions from  the  Act's  prohibitions, and  the            reasons are  not only  clear but rational,  we hold  that the            Maine Act is not unconstitutionally underinclusive.                      D. As Applied Challenge                         ____________________                      Plaintiffs argue that  the Act is  unconstitutional            as applied to the activities  of plaintiff R.H. McKnight Co.,            a professional  fundraiser and  publisher of  law enforcement                                            ____________________            21.  To   the  extent  that  coercion  is  caused  by  police            solicitations  for   campaign  fundraising,  the   State  has            attempted  to minimize it by imposing certain restrictions on            such solicitations.   For example, Me.  Rev. Stat. Ann.  tit.            25,      3711  prohibits  solicitations  by  law  enforcement            officers while  in uniform.   Section 3712 prohibits  any law            enforcement officer  running for a nonpartisan  public office            from  soliciting on his own behalf.  Me. Rev. Stat. Ann. tit.            25,   3712.   Section 3713 prohibits  the use of  coercion in            solicitations.  Me. Rev. Stat. Ann. tit. 25,   3713.  Section            3714 makes a violation of these restrictions a Class E crime.            Me.  Rev. Stat. Ann. tit. 25,    3714.  Other restrictions on            law enforcement  officers  running for  elective  office  are            contained  in  statute,  union  contracts  and   departmental            regulations.   See  Me.  Rev.  Stat. Ann.  tit.  30-A,    355                           ___            (Pamph. 1991) (regulating political  activity of sheriffs and            deputy sheriffs).   Together, these restrictions serve  as an            effective accommodation of  the First Amendment right  of the            police  to  engage  in  political  speech  with  the  State's            interest  in   preventing   coercion   inherent   in   police            solicitation.                                         -38-            magazines; plaintiff Charles Underwood, a private citizen who            wishes  to advertise in  such magazines;22 and  the plaintiff            law  enforcement association which  wishes to disseminate the            magazines.23     Plaintiffs   contend   that  the   sale   of            advertising in law  enforcement publications like  the "Maine            State  Trooper"  is  a noncoercive  undertaking.   Plaintiffs            point specifically to the allegedly noncoercive nature of the            system  of solicitation  designed by  R.H.  McKnight Co.,  in            which telephone solicitors supposedly make it clear that they            are not police  officers, and the names of persons who do not            purchase  advertisements are  not  directly released  to  the            sponsoring law enforcement organization.24                                            ____________________            22.  We  note that  plaintiff  Underwood  can  raise  no  "as            applied"  challenge with regard to his  right to advertise in            the  police magazines, as  the statute does  not prohibit him            from  advertising but from being  solicited to advertise.  As                                              _________            such, his  claim is  rightly considered  along with  those of            plaintiff R.H. McKnight Co. and the plaintiff law enforcement            association.            23.  It  is debatable  whether plaintiffs  can  bring an  as-            applied  challenge  in  the  context  of  a   pre-enforcement            declaratory  judgment action.  See United States v. Gaudreau,                                           ___ _____________    ________            860  F.2d 357,  360-61 (10th  Cir. 1988)  ("In  a declaratory            judgment action no  one has been charged so  the court cannot            evaluate the statute as applied.").  Rather  than embark upon            technicalities,  however,   we  prefer   to  consider   their            arguments on the merits.            24.    A  sample script utilized  by R.H. McKnight  telephone            solicitors states the following:                        AUBURN CONSENT FORM/SALES PRESENTATION                        ______________________________________                                         -39-                                            ____________________                      Hello, __________.  This is __________ calling                 on behalf of the Auburn Police I.B.P.O. 414.                      I am working for the  publishing company, and,                 as  you  may  already  know,  we  are  going  to be                 producing  the   Auburn  Police   I.B.P.O.  #   414                 Yearbook.   This Yearbook  will be  of the  highest                 quality with a full  8 1/2 x 11,  four-color cover,                 and will contain pictures of the officers in action                 here in Auburn  as well as articles of  interest to                 the general public.                      We anticipate that our publication will be the                 best  in  the  Auburn-Lewiston area.    We  will be                 producing 750 copies of  our publication and giving                 them out free of charge to the public, libraries or                 business  friends,  as  well  as  the  officers  of                 Auburn.  Funds derived from the sale of advertising                 will go  to scholarship fund  (sic), as well  as to                 improve law enforcement  and the working conditions                 of the officers right here in Auburn.                      May I tell you the advertising prices?                 In  addition, each  telephone  solicitor  must sign  the            following  agreement before  calling on  behalf  of a  police            organization:                                       CONSENT                 I __________  agree to  adhere to  the above  sales                 presentation  for the  Auburn Police  International                 Brotherhood of Police Officers Local # 414.  I will                                                                ____                 not  state  or imply  that  I am  an  Auburn Police                 ___                 Officer  -- only  that I  am calling on  behalf of:                 (sic)  and that I work for the publishing company.            Affidavit of R.H. McKnight, Appendix 1.                 Finally, although the names of those who do not purchase            advertising  are  not   directly  disclosed  to  the   police            organization,  a disclosure and  thank you is  mailed to each            advertiser in the name of the police organization:                 Please make your check payable to the Auburn Police                 I.B.P.O. Local #  414 and send  with your ad  copy,                 letterhead,  or business card  to:  P.O.  Box 3291,                 Auburn,   Maine      04212.     The   International                 Brotherhood of  Police Officers  Local #  414 is  a                 non-profit   organization,    not   a    charitable                 organization.    Therefore,  your  payment  can  be                                         -40-                      Contrary to  plaintiffs' view,  we think  the Maine            Legislature could believe that solicitation of advertisements            to benefit law enforcement is inherently coercive because the            persons  solicited will  experience  pressure to  purchase an            advertisement so that  their support of law  enforcement will            become known  to police or  so that their  failure to  buy an            advertisement will  not be  noticed.   The Legislature  could            reasonably  doubt   that  the   solicitations  would   become            noncoercive  merely  because the  names of  those who  do not            purchase  advertisements were promised not to be disclosed to            the police.  The advertisements will be public.  Accordingly,            law enforcement  officers will  be aware  of who  contributed            and,  by  the  absence  of advertisements,  of  who  did  not            contribute.   Moreover, those solicited may not believe, even            if  they  are   assured,  that  their   names  will  not   be            communicated.   The Law Court in  MSTA was of the  view that,                                              ____            quite apart  from  actual coercion,  the  state's  legitimate            interest included  maintaining the good  public reputation of                                            ____________________                 deducted as an advertising expense only.  Thank you                 for your support.  With your help we are able to go                 forward.   The telephone call you received was from                 a representative of the publishing company and  not                 a member of the Police Department.  Officers do not                 elect  to solicit as  it may unduly  influence your                 decision.   If you have any questions, please don't                 hesitate to ask.                                         -41-            its   police.    We   are  not  persuaded   that  plaintiffs'            alternatives would necessarily answer that concern.                      Because plaintiffs'  proposed solicitations  remain            inherently coercive, or at least do not remove the appearance            of  coercion and  favoritism, we reject  plaintiffs' argument            that the Act is unconstitutional as applied.                      E. Prior Restraint                         _______________                      Any   violation  of   the   Act's  prohibition   on            solicitation  that  tangibly  benefits   law  enforcement  is            considered  a violation of  the Maine Unfair  Trade Practices            Act.  Me.  Rev. Stat. tit. 25,   3702-A.  The Act, therefore,            can  be enforced either through civil penalties or injunctive            relief.     Finding  that  enforcement  of  the  Act  through            injunctive  relief would  constitute  an impermissible  prior            restraint, the district court  declared the injunctive relief            provision  of the Act  to be  unconstitutional.25   While the                                            ____________________            25.  Plaintiffs actually argued to the district court, and to            this  court,  that  the  Act's  categorical   prohibition  on            solicitation,   in    and   of    itself,   constitutes    an            unconstitutional prior  restraint.  According  to plaintiffs,            the Act constitutes a prior restraint because it "silences by            fiat  an entire category of charitable solicitation."  Auburn                                                                   ______            I, 756 F. Supp.  at 618.  In this respect,  argue plaintiffs,            _            the Act  is "a form  of censorship; it prejudges  rather than            punishes after the  fact."  Id.   Plaintiffs further  contend                                        ___            that  barring   solicitation  of  funds  is   a  particularly            effective  prior restraint  because law  enforcement agencies            will not have the financial resources to spread their message            to the general public.                 The  district   court  correctly   rejected  plaintiffs'            arguments  that the  entire Act  should be  invalidated  as a            prior restraint.    Under plaintiffs'  analysis,  almost  any            regulation  of speech would  be considered a  prior restraint                                         -42-            district   court's  concern   that  injunctions   are  rarely            tolerated in the  First Amendment context is  understandable,            we think the court acted improperly in invalidating the Act's            injunctive relief provision on its face.                      A prior restraint  is a government  regulation that            limits or  conditions in  advance the  exercise of  protected            First Amendment activity.  Fantasy Book Shop,  Inc., 652 F.2d                                       ________________________            at  1120.    Although the  classic  form  of  prior restraint            involves  an  administrative licensing  scheme, see  Jews for                                                            ___  ________            Jesus, Inc.  v. Massachusetts  Bay Transp.  Auth., 984,  F.2d            ___________     _________________________________            1319, 1326-27  (1st Cir.  1993), a  judicial injunction  that            prohibits speech prior to a determination that the speech  is            unprotected also constitutes a prior  restraint.  See Near v.                                                              ___ ____            Minnesota,  283  U.S.  697  (1931).    Any  system  of  prior            _________            restraints of  speech "comes  to this  Court bearing a  heavy            presumption    against    its    constitutional    validity."            Southeastern  Promotions, Ltd. v.  Conrad, 420 U.S.  546, 558            ______________________________     ______            (1975);  Bantam  Books, Inc.  v.  Sullivan, 372  U.S.  58, 70                     ___________________      ________            (1963); New  York Times Co.  v. United States, 403  U.S. 713,                    ___________________     _____________                                            ____________________            since most restrictions  on speech will have  consequences on            later  speech.   While the  Supreme Court has  cautioned that            "[b]road  prophylactic rules in  the area of  free expression            are suspect,"   Riley, 487 U.S.  at 801, the Court  has never                            _____            said that  a  categorical ban  on speech  is a  per se  prior            restraint.    Instead, the  Court  has,  for  the most  part,            carefully   limited   the   prior   restraint   doctrine   to            administrative and judicial orders prohibiting speech  before            it is actually uttered.                                         -43-            714  (1971); Organization for  a Better Austin  v. Keefe, 402                         _________________________________     _____            U.S. 415, 419 (1971).                      The  presumption against  the constitutionality  of            prior restraints is heavier than that against restrictions on            speech imposed by  subsequent penalties.  Vance  v. Universal                                                      _____     _________            Amusement  Co.,  445  U.S. 308,  315-16  (1980); Southeastern            ______________                                   ____________            Promotions Ltd., 420 U.S. at  558-59; New York Times Co., 403            _______________                       __________________            U.S. at 733  (White, J., concurring).  The  Supreme Court has            explained the rationale behind this heavy presumption against            prior restraints as follows:                      Behind the distinction is a theory deeply                      etched  in  our  law:    a  free  society                      prefers  to  punish  the  few  who  abuse                      rights of speech after they break the law                                       _____                      than  to  throttle  them and  all  others                      beforehand.   It is  always difficult  to                      know in  advance what an  individual will                      say, and the  line between legitimate and                      illegitimate  speech is  often so  finely                      drawn  that  the  risks  of  freewheeling                      censorship are formidable.            Southeastern Promotions Ltd., 420 U.S. at 559.            ____________________________                      The Supreme  Court, however, "has  never held  that            all  injunctions are impermissible."  Pittsburgh Press Co. v.                                                  ____________________            Pittsburgh  Comm'n  on  Human Relations,  413  U.S.  376, 390            _______________________________________            (1973).   "The  special vice  of  a prior  restraint is  that            communication  will  be  suppressed, either  directly  or  by            inducing excessive caution in the speaker, before an adequate            determination that it is unprotected by the First Amendment."            Id.   An injunction that  is narrowly tailored, based  upon a            ___                                         -44-            continuing  course of  repetitive  speech,  and granted  only            after a final  adjudication on the merits that  the speech is            unprotected does not constitute an unlawful  prior restraint.            See  id.; Securities  &amp;  Exchange Comm'n  v.  Wall St.  Publ.            ___  ___  ______________________________      _______________            Institute, Inc.,  851 F.2d  365, 370 (D.C.  Cir. 1988).   The            _______________            Maine  courts may interpret the statute  or apply it so as to            avoid  the issuance of  ex parte  restraining orders  or even            temporary injunctions,  using  their  equitable  powers  only            following full hearings and final adjudications.                      Because plaintiffs brought this action seeking pre-            enforcement  declaratory relief,  there  is, at  present,  no            injunction  restraining  solicitation  activities.    Without            having  before  us  the  concrete  example  of  a  particular            injunction, it  is difficult, if  not impossible,  for us  to            determine whether the prior restraint doctrine has or will be            violated.26   See American  Library Ass'n  v. Barr,  956 F.2d                          ___ _______________________     ____                                            ____________________            26.  Injunctions, in  this respect, are  distinguishable from            administrative  licensing   schemes  that   constitute  prior            restraints.   "[W]hen  a  licensing statute  vests  unbridled            discretion in a government official over whether to permit or            deny expressive activity,  one who is subject to  the law may            challenge it facially without the necessity of first applying            for, and being denied, a  license."  Lakewood v. Plain Dealer                                                 ________    ____________            Pub.  Co., 486  U.S. 750, 755-56  (1988); see,  e.g., FW/PBS,            _________                                 ___   ____  _______            Inc. v.  Dallas, 493 U.S.  215 (1990); Freedman  v. Maryland,            ____     ______                        ________     ________            380  U.S. 51,  56 (1965).    In such  cases, it  is  the very            existence of  unbridled discretion  that is  constitutionally            unacceptable because  it "intimidates parties  into censoring            their own speech, even if  the discretion and power are never            actually abused."   Lakewood, 486 U.S. at 756.   By contrast,                                ________            the  statutory  authority  to issue  an  injunction  does not            create the same danger.                                         -45-            1178,  1190   (D.C.  Cir.  1992)  ("Whether   use  forfeiture            constituted  a restraint on speech, prior or otherwise, would            seem  to  depend  on  the  nature of  the  property  and  the            circumstances  of  the  offender,  about  which  we  have  no            information  in this  case.").   We choose  to let  stand the            Act's  provision authorizing  enforcement through  injunctive            relief and leave for another day the  determination whether a            specific injunction     should the State decide to proceed in            such a fashion    constitutes an unlawful prior restraint.                                         III.                                         III.                      We  hold   that   Maine's   Solicitation   by   Law            Enforcement Officers  Act, Me.  Rev.  Stat. Ann.  tit. 25,               3702-A,   does  not  violate  the  First  or  the  Fourteenth            Amendments of the  United States Constitution.   The district            court's determination  that Me.  Rev. Stat.  Ann. tit. 25,               3702-A is not  unconstitutionally overbroad or underinclusive            is   affirmed.    The  court's  declaration  that  the  Act's                 ________            provision  for  enforcement  through   injunctive  relief  is            unconstitutional is reversed.                                  ________                      Costs to the State of Maine.                                                      -46-                                       APPENDIX                                       ________                                    STATE OF MAINE                 An Act to Amend the Laws Concerning Solicitation by                               Law Enforcement Officers            Be it enacted by the People of the State of Maine as follows:            . . . .                      Sec. 5.   Legislative intent.  It is  the intent of                      Sec. 5.   Legislative intent.            the Legislature to  repeal all exceptions to  the prohibition            against solicitation  by law  enforcement agencies,  officers            and associations.   The  Legislature finds  that the  various            exceptions  to the  prohibition enacted  over  the years,  in            fact,  have led to inherently coercive solicitations and that            those  exceptions ultimately undermine  the integrity  of law            enforcement.  As a consequence, the Legislature repeals these            exceptions and reenacts  the prohibition on  solicitations by            or  on behalf  of law enforcement.   The  Legislature further            finds that solicitations for charitable purposes unrelated to            law  enforcement  activities  are  not  inherently   coercive            because the person  solicited will know that  law enforcement            agencies  or officers do  not gain any  tangible benefit and,            consequently will  not be concerned  with who donates.   This            Act clarifies and  reaffirms that the primary  and compelling            purpose  underlying the  laws governing  solicitation  by law            enforcement officers  is to  eliminate the  coercion that  is            inherent in solicitations by and on behalf of law enforcement                                         -47-            officers  by  prohibiting  such solicitations.    When  a law            enforcement officer solicits  from a  prospective donor,  the            donor  may not  feel totally  free to  reject the  request in            light of the  officer's position.  This  occurs regardless of            the   subjective  intent  of   the  officer  to   coerce  the            prospective  donor.    In  addition  to  the  effect  on  the            prospective donor, the  appearance of the transaction  to 3rd            persons may undermine  public confidence in the  integrity of            the  public  office.   At  least the  appearance  of coercion            inheres in  every  solicitation that  tangibly  benefits  law            enforcement  agents   and  the   appearance  undermines   the            integrity of  the office.    The Legislature  finds that  the            State has a  compelling interest in preserving  the integrity            of law enforcement officers and finds that regulating all law            enforcement   solicitations   that   tangibly   benefit   law            enforcement  is  necessary to  promote this  compelling state            interest.            [Priv. &amp; Spec. Laws 1991, Ch. 510.]                                                       -48-

